      Case 3:05-cr-00234-WHA-WC Document 114 Filed 01/17/06 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
                                                       )
v.                                                     )       3:05-CR-234-WHA
                                                       )       [wo]
                                                       )
TYRONE WHITE                                           )

                                      ORDER ON MOTION


       After consideration of the United States’ unopposed1 Motion for Extension of Time for

Government to File Post-Hearing Brief in Response to Defendant’s Motion to Dismiss Indictment

and for Sanctions (Doc. 111, filed Jan.12, 2006), for good cause shown, it is ORDERED that:

       1.        The Motion (Doc. 111) is GRANTED.

       2.        The United States’ deadline to file its post-hearing brief is extended to January 30,

                 2006.


       Done this 17th day of January, 2006.


                                                /s/ Delores R. Boyd
                                                DELORES R. BOYD
                                                UNITED STATES MAGISTRATE JUDGE




       1
           The motion states that defense counsel does not object to the extension.
